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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                  )
 LEVI DWIGHT STOKES,                              )   Docket No. 1:20-cv-00121-DBH
                Plaintiff                         )
                                                  )
 v.                                               )
                                                  )
 PENOBSCOT COUNTY JAIL and SGT.                   )
 MORIN,                                           )
                     Defendants                   )
                                                  )


             ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS


       NOW COME Defendants, Penobscot County Jail, Eric Petterson, Tyler Cadet, and Michael

Morin, by and through undersigned counsel, and hereby respond to the allegations contained in

Plaintiff’s Complaint as follows:

                                    AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B. Plaintiff has not suffered any compensable damages resulting from the claims alleged

in Plaintiff’s Complaint.

       C. Plaintiff’s damages, if any, were directly and proximately caused by the acts and/or

omissions of an individual and/or entity other than these Defendants.

       D.   Plaintiff’s damages, if any, were directly and proximately caused by a legally

sufficient superseding/intervening cause.

       E. Plaintiff has failed to mitigate his damages as required by law.

       F. The Defendants are entitled to immunity, including all immunities available under the

Maine Tort Claims Act and qualified immunity.
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            G. Plaintiff’s claims are barred by provisions of the Prison Litigation Reform Act,

including but not limited to 42 U.S.C. § 1997e(a) and/or 42 U.S.C. § 1997e(e).

            H. Defendant Penobscot County Jail is not a governmental entity and as such is not a

“person” which is capable of being sued.

            I. Plaintiff’s Complaint is barred due to insufficiency of service and insufficiency of

service of process.

                                                      ANSWER

            1. The Defendants deny each and every averment set forth in Plaintiff’s Complaint.1

            WHEREFORE, Defendants pray for judgment in their favor against Plaintiff plus costs,

interest, and attorneys fees.


Dated: May 15, 2020                                                /s/ Peter T. Marchesi
                                                                 Peter T. Marchesi, Esq.


                                                                  /s/ Cassandra S. Shaffer
                                                                 Cassandra S. Shaffer, Esq.

                                                                 Wheeler & Arey, P.A.
                                                                 Attorneys for Defendants
                                                                 27 Temple Street
                                                                 Waterville, ME 04901




1
    In that Plaintiff’s Complaint does not contain numbered paragraphs, Defendants can only provide a general denial.
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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 LEVI DWIGHT STOKES,                              )    Docket No. 1:20-cv-00121-DBH
                Plaintiff                         )
                                                  )
 v.                                               )
                                                  )
 PENOBSCOT COUNTY JAIL and SGT.                   )
 MORIN,                                           )
                     Defendants                   )
                                                  )


       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

              Answer and Affirmative Defenses of Defendants


has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

               None

       Copies of the above documents have been provided to the Plaintiff via United States
Mail, postage prepaid, at the following address:

               Levi D. Stokes
               17 Mallison Falls Road
               Windham, ME 04062


Dated: May 15, 2020                                     /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
